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8
                                   UNITED STATES DISTRICT COURT
9
                                 CENTRAL DISTRICT OF CALIFORNIA
10
                                             WESTERN DIVISION
11
12    Consumer Financial Protection                     Case No. 2:15-cv-09692-PSG(Ex)
      Bureau,
13                                                      [PROPOSED] ORDER GRANTING
                             Plaintiffs,                STIPULATION TO (1) WITHDRAW
14                                                      APPLICATION TO CONTINUE
             v.                                         HEARING DATE ON MOTION TO
15                                                      DISMISS, (2) CONTINUE HEARING
      D and D Marketing, Inc., d/b/a                    DATE ON MOTION TO DISMISS,
16    T3Leads, Grigor Demirchyan, and                   AND (3) MODIFY BRIEFING
      Marina Demirchyan,                                SCHEDULE ON MOTION TO
17                                                      DISMISS
                             Defendants.
18                                                      Current Hearing Date: Oct. 17, 2016
                                                        New Hearing Date:     Nov. 7, 2016
19                                                      Time:    1:30 p.m.
                                                        Judge: Hon. Philip S. Gutierrez
20                                                      Ctrm:    880
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28                                                         1
      [PROPOSED] ORDER GRANTING STIPULATION TO (1) WITHDRAW APPLICATION TO CONTINUE HEARING DATE ON MOTION
      TO DISMISS, (2) CONTINUE HEARING DATE ON MOTION TO DISMISS, AND (3) MODIFY BRIEFING SCHEDULE ON MOTION TO
      DISMISS                                                                              CASE NO. 2:15-CV-09692
     Case 2:15-cv-09692-PSG-E Document 42-1 Filed 08/19/16 Page 2 of 2 Page ID #:235



1            Having considered the Stipulation To (1) Withdraw Application To Continue
2     Hearing Date on Motion To Dismiss, (2) Continue Hearing Date on Motion To Dismiss,
3     and (3) Modify Briefing Schedule on Motion To Dismiss entered into between Plaintiff
4     the Consumer Financial Protection Bureau (“Plaintiff”) and Defendants D and D
5     Marketing, Inc., d/b/a T3Leads, Grigor Demirchyan, and Marina Demirchyan
6     (collectively, “Defendants”), and good cause appearing, it is hereby ORDERED that:
7                • Plaintiff’s Application to Continue the Hearing Date on the Motion to
8                    Dismiss is withdrawn;
9                • The hearing on the Motion to Dismiss shall be continued from October 17,
10                   2016, to November 7, 2016;
11               • Plaintiff shall file its Opposition to the Motion to Dismiss on or before 9:00
12                   a.m. pacific time on October 6, 2016; and
13               • Defendants shall file their Reply on or before October 24, 2016.
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15    IT IS SO ORDERED.
                                                               _____________________
16                                                                Hon. Philip S. Gutierrez
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      [PROPOSED] ORDER GRANTING STIPULATION TO (1) WITHDRAW APPLICATION TO CONTINUE HEARING DATE ON MOTION
      TO DISMISS, (2) CONTINUE HEARING DATE ON MOTION TO DISMISS, AND (3) MODIFY BRIEFING SCHEDULE ON MOTION TO
      DISMISS                                                                              CASE NO. 2:15-CV-09692
